 Case 3:18-cv-00321-JAG Document 97 Filed 03/26/20 Page 1 of 5 PageID# 1261



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

 JOHN HALL, Individually and for Others                  Case No. 3:18-cv-00321-JAG
 Similarly Situated,

 v.                                                      Collective Action

 DOMINION ENEGY, INC. and
 STRATEGIC CONTRACT RESOURCES, LLC



              STIPULATED ORDER REGARDING NON-COMPLIANT VENDORS

        It is hereby stipulated and agreed to by and between the undersigned counsel for all Parties to

this action as follows:

        1.      A case management settlement conference is scheduled for _____________, 2020, at

______ a.m./p.m. The conference will be held telephonically and will be initiated by Plaintiff’s

Counsel. Required to attend the conference are all Parties and third party vendors that compensated

Settlement Class Members for services performed for Dominion Energy, who have not provided the

Parties with the necessary contact information. The third party vendors who have not produced the

necessary contact information are as follows:

                a.        System One Holdings, LLC

                b.        TalentBurst, Inc.

        2.      The Parties shall exercise reasonable efforts to provide a copy of this Order to all third

parties identified above and notify them of their obligation to attend the conference telephonically.

Should any of the third parties produce the necessary contact information before the scheduled

conference, the Parties are to notify the Court immediately.
Case 3:18-cv-00321-JAG Document 97 Filed 03/26/20 Page 2 of 5 PageID# 1262



                                              SO ORDERED:



    Dated: _______________________     ___________________________________
                                       U.S. Magistrate Judge, District of Virginia
 Case 3:18-cv-00321-JAG Document 97 Filed 03/26/20 Page 3 of 5 PageID# 1263



Dated: March 26, 2020                   Respectfully Submitted,

                                        JOHN HALL, Individually and for Others
                                        Similarly Situated

                                        By: /s/ Zev H. Antell
                                        Harris D. Butler (VSB No. 26483)
                                        Zev H. Antell (VSB No. 74634)
                                        BUTLER ROYALS, PLC
                                        140 Virginia Street, Suite 302
                                        Richmond, Virginia 23219
                                        804-648-4848 – Telephone
                                        804-237-0413 – Facsimile
                                        Email: harris.butler@butlerroyals.com
                                        zev.antell@butlerroyals.com

                                        Michael A. Josephson
                                        Texas Bar No. 24014780
                                        Andrew Dunlap
                                        Texas Bar No. 24078444
                                        Richard M. Schreiber
                                        Texas Bar No. 24056278
                                        JOSEPHSON DUNLAP, LLP
                                        11 Greenway Plaza, Suite 3050
                                        Houston, Texas 77046
                                        713-352-1100 – Telephone
                                        713-352-3300 – Facsimile
                                        Email: mjosephson@mybackwages.com
                                        adunlap@mybackwages.com
                                        rschreiber@mybackwages.com
                                        (admitted pro hac vice)

                                        Richard J. (Rex) Burch
                                        Texas Bar No. 24001807
                                        BRUCKNER BURCH, PLLC
                                        8 Greenway Plaza, Suite 1500
                                        Houston, Texas 77046
                                        713-877-8788 – Telephone
                                        713-877-8065 – Facsimile
                                        Email: rburch@brucknerburch.com
                                        (admitted pro hac vice)
                                        Class Counsel
Case 3:18-cv-00321-JAG Document 97 Filed 03/26/20 Page 4 of 5 PageID# 1264




                                       DOMINION ENERGY, INC.;
                                       VIRGINIA AND ELECTRIC POWER
                                       COMPANY; and STRATEGIC
                                       CONTRACT RESOURCES, LLC

                                       By /s/ Bret G. Daniel_________
                                       Jimmy F. Robinson, Jr., Esquire
                                       Virginia State Bar Number 43622
                                       jimmy.robinson@ogletreedeakins.com
                                       J. Clay Rollins, Esquire
                                       Virginia State Bar Number 84382
                                       clay.rollins@ogletreedeakins.com
                                       Bret G. Daniel, Esquire
                                       Virginia State Bar Number 92189
                                       bret.daniel@ogletreedeakins.com
                                       OGLETREE, DEAKINS, NASH, SMOAK
                                       & STEWART, P.C.
                                       901 East Byrd Street, Suite 1300
                                       Riverfront Plaza, West Tower
                                       Richmond, VA 23219
                                       Tel.: (804) 663-2330
                                       Fax: (855) 843-1809

                                       Counsel for Defendants
 Case 3:18-cv-00321-JAG Document 97 Filed 03/26/20 Page 5 of 5 PageID# 1265



                                   CERTIFICATE OF SERVICE
I hereby certify that on this 26th day of March, 2020, I electronically filed the foregoing, using the
CM/ECF system, and provided notice per the Federal Rules of Civil Procedure:

Jimmy F. Robinson, Jr., Esquire
jimmy.robinson@ogletreedeakins.com
J. Clay Rollins
clay.rollins@ogletreedeakins.com
Bret G. Daniel, Esquire
bret.daniel@ogletreedeakins.com
Ogletree, Deakins, Nash, Smoak & Stewart
901 East Byrd Street, Suite 1300
Riverfront Plaza, West Tower
Richmond, Virginia 23219



                                                 By: /s/ Zev H. Antell
                                                 Harris D. Butler (VSB No. 26483)
                                                 Zev H. Antell (VSB No. 74634)
                                                 BUTLER ROYALS, PLC
                                                 140 Virginia Street, Suite 302
                                                 Richmond, Virginia 23219
                                                 Telephone (804) 648-4848
                                                 Facsimile (804) 237-0413
                                                 Email: harris.butler@butlerroyals.com
                                                 zev.antell@butlerroyals.com
